           Case 1:21-cv-03136-MKD                   ECF No. 23        filed 06/24/22       PageID.1070 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                                   FILED IN THE
                                                                  for the_                                          U.S. DISTRICT COURT
                                                                                                              EASTERN DISTRICT OF WASHINGTON
                                                     Eastern District of Washington
                         JOSEFINA C.,                                                                          Jun 24, 2022
                                                                                                                   SEAN F. MCAVOY, CLERK
                                                                     )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 1:21-cv-03136-MKD
            KILOLO KIJAKAZI,                                         )
 ACTING COMMISSIONER OF SOCIAL SECURITY,                             )


                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: The parties’ Stipulated Motion for Remand, ECF No. 21, is GRANTED.
’
              This case is REVERSED and REMANDED to the Commissioner of Social Security for further administrative proceeding
              pursuant to sentence four of 42 U.S.C. § 405(g), as per the Court's order at ECF No. 22.
              Judgment is entered for the PLAINTIFF.


This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge                        MARY K. DIMKE                                        on a stipulated motion for remand.




Date: 6/24/2022                                                            CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Courtney Piazza
                                                                                          (By) Deputy Clerk

                                                                            Courtney Piazza
